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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:10-CR-0462 LJO
                                        )
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            )        STIPULATION RE:
14                                      )        IN LIMINE MOTIONS
                                        )
15                                      )
     BOUNEPHENG SAVONGSY, et al.,       )
16                                      )
                                        )
17                                      )
                    Defendants.         )
18   ___________________________________)

19        Defendants BOUNEPHENG SAVONGSY, RUDDYS A. PIMENTEL, and

20   MARQUIS ALLEN MECA, by and through their attorneys, YAN

21   SHRAYBERMAN, ROBERT LOUIS SHEKETOFF, and JOHN GARLAND, and the

22   United States of America, by and through its attorneys, BENJAMIN

23   B. WAGNER, United States Attorney, and KAREN A. ESCOBAR, Assistant

24   United States Attorney, hereby enter into the following

25   stipulation:

26        1.   The parties to the above-captioned matter agree to stay

27   the filing of motions in limine currently due on September 9,

28   2011, to September 13, 2011, in order to allow the parties

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 1   additional time to attempt to resolve this matter.          While the

 2   parties have been attempting to resolve this matter, they were

 3   unable to effectively proceed without obtaining final approval

 4   from the U.S. Attorney’s Office until this date, September 9,

 5   2011.

 6   DATED: September 9, 2011                     Respectfully submitted,

 7                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 8
                                                  By: /s/ Karen A. Escobar
 9                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
10
                                                   /s/ Yan Shrayberman
11                                                 YAN SHRAYBERMAN
                                                   Attorney for Defendant
12                                                 BOUNEPHENG SAVONGSY

13                                                 /s/ Robert Louis Sheketoff
                                                   ROBERT LOUIS SHEKETOFF
14                                                 Attorney for Defendant
                                                   RUDDYS A. PIMENTEL
15
                                                   /s/ John Garland
16                                                 JOHN GARLAND
                                                   Attorney for Defendant
17                                                 MARQUIS ALLEN MECA

18                                 O R D E R

19           Having read and considered the foregoing stipulation,

20           IT IS THE ORDER of the Court that the current date for the

21   filing of motions in limine shall be continued to September 13,

22   2011, and the date for the filing of any responses thereto shall

23   be continued to September 16, 2011.

24 IT IS SO ORDERED.

25 Dated:    September 9, 2011           /s/ Lawrence J. O'Neill
   b9ed48                            UNITED STATES DISTRICT JUDGE
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